      21-01180-jlg      Doc 2      Filed 08/26/21      Entered 08/26/21 16:21:28          Summons        Pg 1
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                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York
In re: Orly Genger                                                               Bankruptcy Case No.: 19−13895−jlg

Deborah J. Piazza, as Successor Chapter 7 Trustee of the Bankruptcy Estate of
Orly Genger
                                                    Plaintiff(s),
                                                                                           Adversary Proceeding No.
−against−                                                                                             21−01180−jlg
Michael Oldner
The Orly Genger 1993 Trust
Recovery Effort Inc.
Sagi Genger
The Sagi Genger 1993 Trust
Dalia Genger
Elana Genger
David Parnes
D&K GP LLC
TPR Investment Associates, Inc.
Manhattan Safety Maine, Inc.
John and Jane Does 1 through 100
                                                    Defendant(s)

                     SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                           IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days, to:

Address of Clerk:
                                                        Clerk of the Court
                                                        United States Bankruptcy Court
                                                        Southern District of New York
                                                        One Bowling Green
                                                        New York, NY 10004−1408
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
Name and Address of Plaintiff's Attorney:
                                                         Rocco A. Cavaliere
                                                         Tarter Krinsky & Drogin LLP
                                                         1350 Broadway
                                                         11th Floor
                                                         New York, NY 10018
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place:
                                                                 Room: Register at www.court−solutions.com,
United States Bankruptcy Court                                   Dial: (646)760−4600 five mins before hrg,
Southern District of New York                                    JLG Teleconference Line
One Bowling Green
New York, NY 10004−1408                                          Date and Time: 10/20/21 at 10:00 AM
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.
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Dated: 8/26/21                                   Vito Genna

                                                 Clerk of the Court

                                                 By: /s/ Kenishia Braithwaite

                                                 Deputy Clerk
